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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

   RARE BREED TRIGGERS, LLC, et al.,               )
                                                   )
                          Plaintiffs,              )
                                                   )
   v.                                              )     Case No. 22-CV-107-GKF-JFJ
                                                   )
   THOMAS ALLEN GRAVES, et al.,                    )
                                                   )
                          Defendants.              )

                                                  ORDER

           On May 31, 2024, Plaintiffs Rare Breed Triggers, LLC, and ABC IP, LLC (“Plaintiffs”),

   filed a Motion to Compel Assignments of Intellectual Property from Defendant Thomas Allen

   Graves. (Docket No. 101). On June 7, 2024, Plaintiffs filed a Motion for Contempt, requesting

   that Defendant Graves be held in civil contempt for failing to appear at two previously ordered

   asset hearings. (Docket No. 106). Both motions were referred to the undersigned Magistrate

   Judge. As of this date, Defendant has failed to respond to either motion.

           IT IS THEREFORE ORDERED that Plaintiffs’ Motion to Compel Assignments of

   Intellectual Property (Docket No. 101) and Plaintiffs’ Motion for Contempt (Docket No. 106) are

   hereby set for hearing on Tuesday, July 23, 2024, at 9:30 a.m. at 333 W. 4th Street, Tulsa,

   Oklahoma, 74103, Fourth Floor, Courtroom #5. A failure to appear by Defendant Graves may

   result in the granting of Plaintiffs’ Motion to Compel and a certification by the undersigned to the

   district judge recommending Defendant Graves be held in civil contempt.

           IT IS FURTHER ORDERED that upon receiving this Order, Plaintiffs’ counsel shall

   serve a copy on Defendant Graves by first class mail at the address listed in the Court record.

   Thereafter, Plaintiffs’ counsel shall file a certificate of service with the Court by Friday, July 12,

   2024.
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         IT IS SO ORDERED this 3rd day of July, 2024.




                                          MARK T. STEELE, MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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